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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

Energizer Brands, LLC,
                                       Plaintiff,
                                                                  Case No. 19-cv-09061-JPO
                         - against -

Duracell U.S. Operations, Inc.,
                                       Defendant.


Duracell U.S. Operations, Inc.,
                                       Counterclaim Plaintiff,

                         - against -

Energizer Brands, LLC,
                                       Counterclaim
                                       Defendant.



                         NOTICE OF MOTION TO DISMISS

       PLEASE TAKE NOTICE THAT, upon the accompanying Memorandum of Law,

Defendant and Counterclaim-Plaintiff Duracell U.S. Operations, Inc. will move this

Court, before the Honorable J. Paul Oetken, United States District Judge for the Southern

District of New York, on a date and at a time to be determined by the Court, at the United

States Courthouse, 40 Foley Square, New York, New York, for an order dismissing with

prejudice all claims asserted in Plaintiff and Counterclaim-Defendant Energizer Brands

LLC’s Amended Complaint dated September 15, 2020, ECF No. 23, pursuant to Rule

12(b)(6) of the Federal Rules of Civil Procedure, and for such other relief as the Court

may deem just and proper. The grounds for this motion are set forth in the accompanying

Memorandum of Law.
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Dated:   New York, New York
         September 29, 2020
                                            Respectfully submitted,

                                            PAUL, WEISS, RIFKIND, WHARTON &
                                             GARRISON LLP

                                            By: /s/ Andrew Gordon
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                                                 Attorneys for Defendant and
                                                   Counterclaim-Plaintiff Duracell U.S.
                                                   Operations, Inc.




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